OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction



                                         UNITED STATES DISTRICT COURT
                                                                       for the

                                                        Western District of North Carolina

                     United States of America                            )
                                 v.                                      )
                                                                         )   Cas e No: 5:05CR235-10
          M ICHA EL DW A YNE HOW ELL, a/k/a "Black"
                                                                         )   USM No: 21516-058
Date of Previous Judgment:           April 17, 2007                      )   Randolph Lee
(Use Date of Last Amended Judgment if Applicable)                        )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of      the defendant  the Director of the Bureau of Prisons        the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been low ered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of                 months is reduced to                                                  .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                   Amended Offense Level:                                          31
Criminal History Category: III                  Criminal History Category:                                      III
Previous Guideline Range:  240 to 293 months    Amended Guideline Range:                                        240       to 240   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is w ithin the amended guideline range.
 The previous term of imprisonment imposed w as less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   No reduction as the guideline range remains unchanged due to the mandatory statutory minimum
                     sentence. Note: the previous guideline range of 240 to 293 months from an offense level of 33 and a
                     criminal history category of III is incorrect (it should be 240 months).



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                   April 17, 2007,      shall remain in effect.
IT IS SO ORDERED .

Order Date:          January 12, 2010


Effective Date:      January 12, 2010
                       (if different from order date)



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